              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:07cr33-3


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                  ORDER
                            )
                            )
JEANNIE LARGENT COSBY.      )
____________________________)


     THIS MATTER is before the Court on the Defendant’s Motion for

Reconsideration of Sentence Reduction based upon an Intervening

Change in the Sentencing Guidelines pursuant to Section 3582 [Doc. 469].

     On August 10, 2012, this Court denied the Defendant’s various

motions pursuant to 18 U.S.C. §3582 to reduce her sentence based on the

so-called crack cocaine guideline amendment. [Doc. 384, Doc. 395, Doc.

442]. Almost five months later, the Defendant filed this motion.

     “Of course, the Federal Rules of Civil Procedure do not apply to

motions under §3582.” United States v. Goodwyn, 596 F.3d 233, 235 n.

(4th Cir.), cert. denied ____ U.S. ____, 130 S.Ct. 3530, 177 L.Ed.2d 1110

(2010) (emphasis in original). “This is so because §3582 motions – which

seek only to alter terms of imprisonment – are criminal in nature.”            Id.


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Indeed, there is no federal statute which expressly authorizes a motion to

reconsider in a criminal case. Id. at 235-36. This Court is therefore without

jurisdiction to consider a motion for reconsideration in a §3582 proceeding.

United States v. Jackson, ____ Fed. App’x. ____, 2013 WL 1444877 (4th

Cir. 2013); United States v. Dailey, 475 Fed. App’x. 898 **2 (4th Cir. 2012)

(the district court lacked authority to entertain the motion to reconsider).

      IT IS, THEREFORED, ORDERED that the Defendant’s Motion for

Reconsideration of Sentence Reduction based upon an Intervening

Change in the Sentencing Guidelines pursuant to Section 3582 [Doc. 469]

is hereby DENIED.

                                      Signed: May 22, 2013




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